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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

 PAUL ERFTENBECK                                 CV 19-30-BU-BMM-KLD

               Plaintiff,

        vs.                                      ORDER

 WILDER RESORTS, INC., d.b.a.
 FAIRMONT HOT SPRINGS RESORT,
 and
 JOHN DOES 1-10, inclusive,

               Defendants.

      Pursuant to the Stipulation filed by and between the parties, and good cause

appearing,

      IT IS HEREBY ORDERED that the above-captioned matter is dismissed

with prejudice, each party to pay their own costs and attorneys’ fees.

      DATED this ____ day of January, 2021.



                                             ______________________________
                                             Kathleen L. DeSoto
                                             United States Magistrate Judge
